
PER CURIAM.
We affirm on the authority of Trianon Park Condominium Assn., Inc. v. City of Hialeah, 468 So.2d 912 (Fla.1985). In doing so we reject appellant’s contention that the negligent issuance of a certificate of occupancy by a governmental entity may serve as a valid and distinct predicate for liability against such entity separate and apart from the other aspects of that entity’s enforcement of a building code, such as governmental inspection of construction. We construe Trianon Park’s bar of governmental liability for the enforcement of building codes to include the issuance of certificates of occupancy.
ANSTEAD and DELL, JJ., and SALMON, MICHAEL H., Associate Judge, concur.
